Filed 8/22/24
                                CERTIFIED FOR PUBLICATION




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA


                                THIRD APPELLATE DISTRICT


                                            (Sacramento)
                                                ----
 DAVONYAE SELLERS,
                                                                    C100036
                  Petitioner,
                                                           (Super. Ct. No. 21FE018661)
          v.

 THE SUPERIOR COURT OF SACRAMENTO
 COUNTY,

                  Respondent;

 THE PEOPLE,

                  Real Party in Interest.


       ORIGINAL PROCEEDING in mandate and/or prohibition. The stay order issued
by this court on February 2, 2024, will terminate upon finality of this opinion. Petition
denied. Deborah D. Lobre, Judge.

      Amanda M. Benson, Public Defender, Cecilia C. Herrera, Assistant Public
Defender, for Petitioner.

        No appearance for Respondent.

      Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant Attorney General,
Michael P. Farrell, Assistant Attorney General, Edrina M. Anderson and Clara M. Levers
Deputy Attorneys General, for Real Party in Interest.


                                                 1
       In this mandamus action, petitioner Davonyae Sellers challenges the trial court’s
denial of his motion to suppress the fruits of a warrantless search of a vehicle. The
question presented is whether the plain-view observation of a marijuana rolling tray and
approximately 0.36 grams of loose marijuana on the rear floorboard, coupled with other
factors, provided probable cause for police officers to conduct a warrantless search of a
vehicle. Because we conclude that the search was supported by probable cause, we deny
the petition.
                     BACKGROUND FACTS AND PROCEDURE
       On November 5, 2021, around 4:30 p.m., defendant was riding in the front
passenger seat of a vehicle that was stopped by police for a minor traffic infraction (Veh.
Code § 22450 [limit line violation]). Aside from the traffic violation, there was nothing
suspicious about the vehicle.
       During the traffic stop, three police officers emerged from the patrol car and
approached the vehicle. Officer Conner Mills approached the driver’s side of the vehicle,
while Officers Derek Goetting and Mark Thrall approached the passenger side.
       Officer Mills contacted the female driver and explained the reason for the traffic
stop. The driver was sweating and both defendant and the driver appeared slightly
nervous. Officer Mills requested a driver’s license and asked if there was any marijuana
or anything illegal in the vehicle. The driver said no. However, Officer Mills could see
in the back of the vehicle a tray commonly used for rolling marijuana cigarettes or
blunts.1 The tray was covered in a sticky residue consistent with marijuana. Officer
Mills found the presence of the tray suspicious given the driver’s statement that there was
no marijuana in the vehicle.


1       A cigar that has been hollowed out and filled with marijuana. (Merriam-Webster
Unabridged Dict. Online (2024) https://unabridged.merriam-
webster.com/unabridged/blunt, par. 3&gt; [as of Aug. 19, 2024], archived at
https://perma.cc/K9YP-X3YP.)

                                             2
       While Officer Mills was speaking with the driver, Officer Thrall conducted a plain
view search of the vehicle by peering through the rear passenger’s side window.2 Using
his flashlight, Officer Thrall saw “crumbs” of green, loose-leaf marijuana scattered
throughout the rear floorboard, as well as “somewhat larger” “round circular nuggets” of
marijuana under the front passenger seat.
       The marijuana observed by the police officers was “loose” in the vehicle.
According to Officer Thrall, it appeared as if the marijuana had been “crumbled”
throughout the rear of the vehicle. The marijuana was not in a container and the officers
did not observe any containers nearby. The officers did not recall smelling any marijuana
odor and they found no rolling papers, joints, blunt wrappers or blunts, pipes, vapes, or
other smoking devices in the vehicle. The driver obeyed all commands and there was
nothing to suggest she was driving under the influence.
       Based on the loose marijuana observed on the floorboard, together with the
marijuana rolling tray and other factors, the police officers concluded there was probable
cause to search the vehicle. Thus, officers asked defendant and the driver to exit the
vehicle so officers could perform the probable cause search. As defendant was preparing
to exit the vehicle, Officer Thrall asked if he had any weapons on him. Defendant
responded that he had a firearm, which was located on the side of the passenger seat.
Officer Goetting then searched and found a black nine-millimeter handgun underneath
the front passenger seat.




2      The “plain view” exception to the Fourth Amendment warrant requirement permits
a law enforcement officer to seize incriminating evidence or contraband when it is
discovered in a place where the officer has a right to be. (People v. Breault (1990)
223 Cal.App.3d 125, 131-132; People v. Sandoval (1985) 164 Cal.App.3d 958, 963
[illumination provided by officer’s flashlight is of no significance].)

                                             3
         Officer Goetting also collected the loose marijuana from the rear passenger
floorboard. In total, the marijuana collected from the vehicle weighed 0.36 grams, which
the officers testified was a “usable” amount.
         Defendant was charged with unlawful possession of a firearm by a person
previously having been adjudged a ward of the court (Pen. Code, § 29820). On April 3,
2023, defendant filed a motion to suppress the evidence obtained by the warrantless
search of the vehicle, including the firearm. Defendant argued that there was no probable
cause to justify the search. The People opposed the motion.
         After a joint preliminary hearing and suppression motion hearing, the magistrate
denied the motion. The magistrate reasoned that the police officers had probable cause to
search the vehicle because the loose marijuana observed by the officers was “contraband”
under Vehicle Code section 23222, subdivision (b).
         After defendant was arraigned on the information, defendant renewed the
suppression issue in a motion to dismiss under Penal Code section 995. The People filed
an opposition, and the trial court denied the motion.
         Defendant filed a petition for a writ of mandate and/or prohibition directing that
his motion to suppress be granted and that the charges arising from the illegally-obtained
evidence be dismissed. After the People filed an informal response, we issued an order to
show cause and stayed proceedings in the trial court pending further order of this court.
The People filed a written return to the order to show cause, to which defendant replied.
We now address the merits.
                                        DISCUSSION
         Defendant contends that the trial court erred in denying his motion to suppress the
evidence seized during the search of the vehicle. We conclude that the search was
supported by probable cause, albeit for reasons different from those given by the trial
court.



                                                4
       A.     Legal Background
       The Fourth Amendment protects the right to be free from unreasonable searches
and seizures. (U.S. Const., 4th Amend.) Reasonableness under the Fourth Amendment
generally requires obtaining a judicial warrant. (People v. Macabeo (2016) 1 Cal.5th
1206, 1213.) Warrantless searches are presumed to be unreasonable, and therefore
illegal, subject only to a few carefully delineated exceptions. (People v. Vasquez (1983)
138 Cal.App.3d 995, 1000; People v. Johnson (2020) 50 Cal.App.5th 620, 625
(Johnson).) The burden is on the People to show that a warrantless search falls within
one of those exceptions. (People v. Vasquez, supra, 138 Cal.App.3d at p. 1000.)
       “One such exception . . . is the automobile exception, under which an officer may
search a vehicle without a warrant so long as the officer has probable cause to believe the
vehicle contains contraband or evidence of a crime. [Citation.]” (People v. Hall (2020)
57 Cal.App.5th 946, 951 (Hall).) When police officers have probable cause to believe a
vehicle contains contraband or evidence of criminal activity, even for a minor infraction,
they may conduct a warrantless search of any area of the vehicle in which there is
probable cause to believe it may be found. (People v. Evans (2011) 200 Cal.App.4th 735,
753; People v. McGee (2020) 53 Cal.App.5th 796, 805 (McGee).)
       “Probable cause is a more demanding standard than mere reasonable suspicion.
[Citation.] It exists ‘where the known facts and circumstances are sufficient to warrant a
man of reasonable prudence in the belief that contraband or evidence of a crime will be
found . . . .’ [Citation.]” (Johnson, supra, 50 Cal.App.5th at p. 625.) As the United
States Supreme Court has noted, “probable cause is a fluid concept–turning on the
assessment of probabilities in particular factual contexts–not readily, or even usefully,
reduced to a neat set of legal rules.” (Illinois v. Gates (1983) 462 U.S. 213, 232
[76 L.Ed.2d 527, 544].) Further, “[a]n officer is entitled to rely on his [or her] training
and experience in drawing inferences from the facts he [or she] observes, but those
inferences must also ‘be grounded in objective facts and be capable of rational

                                              5
explanation.’ ” (United States v. Lopez-Soto (9th Cir. 2000) 205 F.3d 1101, 1105, quoting
United States v. Garcia-Camacho (9th Cir. 1995) 53 F.3d 244, 246; accord People v.
Carrillo (1995) 37 Cal.App.4th 1662, 1667.) When considering the validity of the
evidence, it is to be analyzed “ ‘as understood by those versed in the field of law
enforcement.’ ” (Illinois, supra, 462 U.S. at p. 232 [76 L.Ed.2d at p. 544], quoting
United States v. Cortez (1981) 449 U.S. 411, 418 [66 L.Ed.2d 621, 629].) “The principal
components of a determination of reasonable suspicion or probable cause will be the
events which occurred leading up to the stop or search, and then the decision whether
these historical facts, viewed from the standpoint of an objectively reasonable police
officer, amount . . . to probable cause.” (Ornelas v. United States (1996) 517 U.S. 690,
696 [134 L.Ed.2d 911, 919].) As such, we consider the totality of the circumstances, and
analyze these facts as would a reasonable police officer, in assessing the officer’s
probable cause, rather than looking to singular facts in a vacuum. (See Illinois, at
pp. 230-231, 238 [76 L.Ed.2d at pp. 543-544, 548].)
       Before California decriminalized marijuana possession, case authority established
that a police officer’s observation of any amount of marijuana in a vehicle established
probable cause to search under the automobile exception. (See Johnson, supra,
50 Cal.App.5th at pp. 628-629, citing People. v Strasberg (2007) 148 Cal.App.4th 1052,
1059-1060, and People v. Waxler (2014) 224 Cal.App.4th 712, 721, 725.) However, in
2016, the voters passed Proposition 64, the Control, Regulate, and Tax Adult Use of
Marijuana Act, as approved by the voters, General Election, November 8, 2016, which
decriminalized the possession of small amounts of marijuana for personal use. (Johnson,
supra, at p. 625.) Under Health and Safety Code section 11362.1, subdivision (a)(1),3 it
is lawful for persons 21 years or older, under defined circumstances, to possess and
transport up to 28.5 grams of cannabis. (§§ 11362.1, subd. (a)(1); 11362.3, subd. (a).)


3      Undesignated section references are to the Health and Safety Code.

                                             6
Subdivision (c) of section 11362.1 further provides that “[c]annabis and cannabis
products involved in any way with conduct deemed lawful by this section are not
contraband nor subject to seizure, and no conduct deemed lawful by this section shall
constitute the basis for detention, search, or arrest.” (§ 11362.1, subd. (c).)
       Since the passage of Proposition 64, courts have held that lawful possession of
marijuana in a vehicle, by itself, does not provide probable cause for a warrantless search
on the theory that there may be a greater, unlawful amount of marijuana in the vehicle.
(Hall, supra, 57 Cal.App.5th at pp. 952-953; accord, Johnson, supra, 50 Cal.App.5th at
p. 629; People v. Lee (2019) 40 Cal.App.5th 853, 861-862, 866 (Lee).) As the appellate
court explained in Hall, “Proposition 64 and, in particular, section 11362.1[, subdivision]
(c) . . . fundamentally changed the probable cause determination by specifying lawfully
possessed cannabis is ‘not contraband’ and [that] lawful conduct under the statute may
not ‘constitute the basis for detention, search, or arrest.’ [Citations.]” (Hall, supra, at
pp. 954-955.) As a result, we now attach “fairly minimal significance” to a defendant’s
possession of a legal amount of marijuana. (Lee, supra, at p. 861.)
       However, section 11362.1, subdivision (c) applies only to conduct “deemed
lawful” under that section. (People v. Moore (2021) 64 Cal.App.5th 291, 300 (Moore).)
Thus, while possession of a lawful amount of marijuana alone is insufficient to establish
probable cause, it may support a finding of probable cause if it is coupled with other
factors contributing to a reasonable belief that the vehicle contains contraband or
evidence of criminal activity. (Ibid.; Blakes v. Superior Court of Sacramento County
(2021) 72 Cal.App.5th 904, 911-912 (Blakes).) For example, even after the passage of
Proposition 64, it is unlawful to possess or transport more than 28.5 grams of cannabis
(§ 11362.1, subd. (a)(1)); to smoke or ingest cannabis while driving or riding in the
passenger seat of a vehicle (§ 11362.3, subds. (a)(7) &amp; (a)(8)); to possess an open
container or package of cannabis while driving or riding in the passenger seat of a vehicle
(§ 11362.3, subd. (a)(4)); or to drive a vehicle while under the influence of any drug

                                              7
(Veh. Code, § 23152, subd. (f).) It follows that a warrantless vehicle search will be
justified where the presence of a lawful amount of marijuana, combined with other
suspicious facts or circumstances, gives officers reasonable grounds to believe the
suspect has an illegal amount of marijuana or is otherwise violating marijuana
regulations. (Moore, supra, 64 Cal.App.5th at pp. 298, 300.)
        B.     Standard of Review
        Because the motion to suppress was made during the preliminary hearing, and the
renewed motion was submitted on the transcript of that hearing, we disregard the findings
of the trial court and review the determination of the magistrate who ruled on the motion
to suppress. (Blakes, supra, 72 Cal.App.5th at p. 910.) We review the evidence in the
light most favorable to the magistrate’s ruling and defer to the trial court’s factual
findings, express or implied, if they are supported by substantial evidence. (Johnson,
supra, 50 Cal.App.5th 620, 626.) We exercise our independent judgment in determining,
on the facts found, whether the search was constitutionally reasonable. (Id. at pp. 626-
627.)
        C.     Analysis
        Defendant does not contest the legality of the initial traffic stop but argues the
ensuing search of the vehicle was unlawful because it was without probable cause.
Defendant’s principal argument is that small amounts of “stray marijuana” scattered
around the floorboards of a vehicle does not provide probable cause for a search.
        The People initially argued that the loose marijuana, although lawful in amount,
was contraband because the manner in which it was being transported violated statutory
prohibitions against driving with an open container or package of marijuana (§ 11362.3,
subd. (a)(4)) or loose cannabis flower (Veh. Code, § 23222, subd. (b)). The People later
abandoned these arguments, however, and at oral argument relied solely upon the totality
of circumstances to support a finding a probable cause. The People argued that, based on
the totality of the circumstances, the police had probable cause to conduct the search

                                               8
based on the evidence that (1) the suspects seemed nervous, (2) the suspects falsely stated
there was no marijuana in the vehicle, (3) officers saw a marijuana rolling tray in the back
of the vehicle, and (4) officers observed a “usable” amount of loose marijuana scattered
on the floorboard.
       We conclude that the loose marijuana was contraband, and illegally transported,
and thus find the search was proper. As noted above, while Proposition 64
decriminalized the use and possession of marijuana in limited circumstances, it did not
decriminalize marijuana use and possession in all circumstances. Thus, “even after the
enactment of Proposition 64, there is probable cause to search a vehicle if a law
enforcement official sees a legal amount of cannabis in an illegal setting . . . .” (Blakes,
supra, 72 Cal.App.5th at p. 912.) Relevant here, section 11362.3, subdivision (a)(4),
states that it is unlawful to “[p]ossess an open container or open package of cannabis
. . . while driving, operating, or riding in the passenger seat or compartment of a motor
vehicle . . . .” (§ 11362.3, subd. (a)(4).)
       Defendant argues there was no “open container” violation because the marijuana
observed by the police officers was not in a container. Defendant’s argument does not
hold up under scrutiny. Although the words used in a statute are the most useful guide to
its intent, the language of a statute should not be given a literal meaning if doing so
would frustrate the purposes of the legislation or lead to absurd results. (People v.
Johnson (2022) 83 Cal.App.5th 1074, 1083; In re Romeo C. (1995) 33 Cal.App.4th 1838,
1844.) To construe the statute as defendant urges would lead to an absurd result and
undermine the purpose of the open container law, which is to ensure that marijuana is
transported only in sealed containers such that it is inaccessible while driving or riding as
a passenger in a vehicle. (See People v. Souza (1993) 15 Cal.App.4th 1646, 1652.) It
would defy logic to conclude that an individual with an unsealed container or open
package of marijuana is violating the law, while someone with usable amounts of
marijuana scattered loosely on a seat or around the passenger compartment is not.

                                              9
       Thus, in spite of the People’s belated concession,4 we construe the statute,
consistent with its apparent purpose, to prohibit any person from possessing marijuana
that is not in a closed package or container while driving, operating, or riding as a
passenger in a vehicle. In other words, when read together, the most logical
interpretation of sections 11362.1 and 11362.3 is that these statutes decriminalized only
the possession of less than 28.5 grams of marijuana in a closed container or package in a
motor vehicle and that the law continues to prohibit the possession of open containers of
marijuana or loose marijuana not in a container, just as before Proposition 64’s
enactment. In short, these statutes did not decriminalize the transportation of loose
marijuana in a vehicle, even if lawful in amount. Consequently, we conclude that the
marijuana at issue in this case was contraband because it was being transported illegally
under section 11362.3, subdivision (a)(4).5
       Further, even if we were to conclude the loose marijuana was not contraband, we
are persuaded that the totality of the circumstances observed by the police officers gave
probable cause to search the vehicle. Given the evidence that (1) the driver and
defendant seemed nervous, (2) the officers were falsely told that there was no marijuana
in the vehicle, (3) officers saw a marijuana rolling tray in the back of the vehicle, and (4)
officers observed a “usable” amount of loose marijuana scattered on the floorboard, the
officers reasonably believed that they would find contraband or evidence of unlawful
marijuana possession in the vehicle. (Moore, supra, 64 Cal.App.5th at pp. 299, 302 [odor




4      We are not bound to accept a party’s concession on a question of law. (Desny v.
Wilder (1956) 46 Cal.2d 715, 729; People v. Alvarado (1982) 133 Cal.App.3d 1003, 1021
[although the Attorney General’s concession entitled to “appropriate deference,” the
appellate court is not bound by it].)
5      This renders it unnecessary for us to decide whether the loose marijuana was
contraband under Vehicle Code section 23222, subdivision (b)(1).

                                              10
of marijuana plus nervous, evasive behavior reasonably caused an officer to believe a
vehicle contained more marijuana than the law allows].)
       We reject defendant’s argument that the amount of marijuana observed was too
small to justify the search. Defendant’s argument relies on Hall, supra, 57 Cal.App.5th at
page 946, in which police officers observed “ ‘a green leafy substance, that appeared to
be broken up’ ” in the driver’s lap. (Hall, supra, at p. 949.) Hall is distinguishable
because, in that case, there was no evidence that the fragments of loose marijuana
observed in the driver’s lap constituted a usable quantity, as opposed to useless trace
amounts. (Id. at p. 958; see People v. Rubacalba (1993) 6 Cal.4th 62, 65-66.) Here, in
contrast, the testimony was undisputed that the officers observed a “usable” amount of
loose marijuana.
       In sum, we conclude the presence of a “usable” amount of unlawfully possessed
marijuana, together with the other facts observed or known to the police officers,
provided probable cause to search the vehicle. (McGee, supra, 53 Cal.App.5th at
pp. 803-805; People v. Fews (2018) 27 Cal.App.5th 553, 562-564; People v. Souza,
supra, 15 Cal.App.4th at p. 1653.)
                                      DISPOSITION
       The petition for writ of mandate is denied. The stay order issued by this court on
February 2, 2024, will terminate upon finality of this opinion.


                                                       \s\                    ,
                                                  Krause, J.


       I concur:



              \s\           ,
       Earl, P. J.


                                             11
Duarte, J., Dissenting.


       The majority rejects a concession by the Attorney General to hold that an open
container violation does not require the existence of a container, whether open or closed.
It then alternatively and cursorily concludes that the sum of three legal and innocuous
events constitutes a “totality of the circumstances” justification for a warrantless vehicle
search. I cannot agree with the majority on either of these points. Accordingly, I dissent.
       After what was clearly a targeted traffic stop of a car that appears to have
contained African-American and Hispanic individuals (see People v. Flores (2024)
15 Cal.5th 1032, 1054 (conc. opn. of Evans, J.) [“Black individuals were stopped 131.5
percent more frequently relative to their proportion of the population and Hispanic
individuals comprised the largest racial group of stopped individuals.” “Stopped Black
and Hispanic individuals were more likely to be searched than stopped White
individuals”]), a questionably invasive “plain view” observation of an unclear amount of
discarded marijuana on the back floorboards of the car, and extensive questioning of the
driver, who had a sweaty upper lip (see id., at pp. 1052-1053 (conc. opn. of Evans, J.)
[discussing “the danger in considering ‘nervous’ and ‘evasive’ behavior in the totality of
the circumstances analysis when devoid of real world context”]), the police executed a
warrantless search of the car in which defendant was riding. The search was performed
after the driver politely declined an officer’s request for consent to search. A postsearch
total of 0.36 grams of marijuana was represented as the amount scraped off the car’s rear
floorboards and found under the passenger seat, although the scrapings were never
analyzed and, in my view, could easily have contained other materials from the floor of
the car.




                                              1
       First, the majority concludes that the officers witnessed a violation of Health and
Safety code section 11362.3, subdivision (a)(4)1--which criminalizes “an open container
or open package” of marijuana in a vehicle--when they observed the scattered marijuana
on the floorboards of the car. (Maj. opn., ante, at pp. 9-10.) However, I agree with the
Attorney General’s concession at oral argument that scattered marijuana on a car’s
floorboards does not constitute an open container of marijuana. I know of no authority,
and the majority cites none, that upholds an open container violation in the undisputed
absence of a container of any sort. There was not even wrapping paper involved, were I
inclined to stretch the definition of “container.” (See In re Randy C. (2024)
101 Cal.App.5th 933, 940-941 [holding that “a marijuana blunt, wrapped in paper but for
a ‘speck of marijuana’ on the flattened end,” was “an ‘open container’ of marijuana
within the meaning of section 11362.3”].) The reason for this dearth of authority is clear:
Without any evidence of a container or package, there can be no open container or
package. The presence of an empty rolling tray elsewhere in the car is irrelevant, as is the
testimony (questionable in my view, but unchallenged on appeal) that a useable amount
of marijuana is any amount that “could be ingested by a human.” As but one example, a
tablespoon of beer “could be ingested by a human,” but common sense dictates that a
small amount of beer spilled on the rear floorboards of a car would not constitute an open
container of alcohol as defined by Vehicle Code section 23222, subdivision (a).
       Although the majority refers to this conclusion as an “absurd result” and points out
that the purpose of the open container law is to ensure that marijuana is inaccessible to
persons while they are driving, operating, or riding as passengers in a vehicle (maj. opn,
ante, at p. 9), here there is no evidence that the marijuana scattered on the rear
floorboards was accessible for consumption by anyone in the car; indeed, the back seat of




1 Further undesignated statutory references are to the Health and Safety Code.



                                              2
the car was unoccupied. Tellingly, although the amount scraped from the floorboards
may have been “useable,” there was neither evidence that the marijuana was in any
condition to actually be used nor evidence that anyone was in the position to scrape it
together and use it while driving, operating, or riding in the car. Beyond the tray, no drug
paraphernalia was found. Further, the scattered amount was approximately one-eightieth
of the amount that would be legal if it were in a sealed baggie on the front seat. To
criminalize the tiny amount of scattered marijuana on the rear floorboards but legalize the
closed baggie in the front seat containing 80 times that amount strikes me as far more
absurd than my proposed plain language interpretation of the statute as requiring an open
container to find a violation of an open container law.2
       Second, the majority concludes in the alternative, with minimal analysis, that the
“totality of the circumstances” provided probable cause for the search even assuming
there was no open container violation. In addition to the scattered marijuana on the
floorboards, the majority points to the evidence that the driver and defendant “seemed
nervous,” that the officers were “falsely told that there was no marijuana in the vehicle,”
and that there was a rolling tray in the back of the car. (Maj. opn., ante, at p. 10.)
       The one case cited by the majority is eminently distinguishable, containing far
more to provide reasonable grounds for belief of guilt than the instant case. (See, e.g.,
People v. Celis (2004) 33 Cal.4th 667, 673 [“ ‘ “The substance of all the definitions of



2 The magistrate understandably rejected the argument that there could be an open
container violation where there was no container but reasoned that the officers had
probable cause to search the vehicle because the loose marijuana they observed was
“contraband” under Vehicle Code section 23222, subdivision (b). The Attorney General
wisely abandoned his defense of this reasoning after we requested supplemental briefing
on the language in subdivision (b)(1) of that statute specifically requiring the driver to be
in “possession on their person” while driving in order for “loose cannabis flower not in a
container” to be an infraction. The majority does not address this argument, and instead
rejects the Attorney General’s concession that the trial judge correctly found there was no
violation of Health and Safety Code section 11362.3, subdivision (a)(4), in this case.

                                              3
probable cause is a reasonable ground for belief of guilt” ’ ”]; see People v. Moore (2021)
64 Cal.App.5th 291, 299 [cited by the majority, where a panel of this court found
probable cause for searching a Jeep existed when the officer interrupted a suspected drug
transaction in a high-crime area, the defendant (who had been leaning into the passenger
side of the Jeep) left the scene when the officer approached, the officer smelled “the
strong odor of fresh marijuana emanating from the Jeep,” and the driver had an
“implausible explanation” for the smell, was nervous, and gave an ambiguous answer
when asked if anything illegal was in the Jeep].) In contrast, in this case, the officers
ostensibly stopped the car for a limit line violation, and the record reveals no arguably
suspicious circumstances related to the car or its occupants at the time of the stop. There
was no suspected drug transaction. There was no smell of marijuana or any other
suspicious smell. There was no container, open or closed. Although there was an empty
rolling tray on the backseat, there was no evidence of current drug consumption and no
evidence the car’s occupants were under the influence. There were no evasive answers to
questions or attempts to avoid contact with the officers. The “false” response of “no” to
the officer’s question as to whether there was any marijuana in the car was far from a
major falsehood; there was no evidence that the car’s occupants were aware of the small
amount of marijuana scattered on the rear floorboards. The driver explained to the officer
that her sweaty upper lip was a medical condition. The video evidence does not reveal
any nervous or uncooperative behavior by the car’s occupants, particularly when
considering the intimidating circumstances of the stop: Three uniformed officers
approached the car together and used flashlights to look inside the windows (in broad
daylight) from both sides. The driver obeyed all commands and respectfully refused the
officers’ requests to search the car for guns, made before they spotted the scattered
marijuana.




                                              4
       Section 11362.1, subdivision (c) precludes the consideration of the legal
possession of the 0.36 grams of marijuana found on the floorboards; its presence in the
car cannot properly support the probable cause determination absent other factors
properly considered, and here there were none. The empty rolling tray was neither illegal
nor proof of any illegality, and the majority does not explain its relevance to this analysis.
Likewise, the fact that the car’s occupants “seemed” nervous and that the driver
disclaimed knowledge of one third of a gram of marijuana scattered on the floorboards
behind her passenger did not supply probable cause for this warrantless search. Simply
put, there was no evidence of any ongoing illegal activity whatsoever. I would grant the
petition and issue the writ.




                                                        \s\
                                                  Duarte, J.




                                              5
